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City Attorney                                                                                                                    KATHRYN Z. BLOCK
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ODALO J. OHIKU 0.                                                                                                                PATRICK J. MCCLAIN
ROBIN A. PEDERSON                                                                                                                HANNAH R. JAHN
S. TODD FARRIS                                                                                                                   JULIE P. WILSON
                                                                                                                                 MEIGHAN M. ANGER
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                March 10, 2023                                                                                                   THERESA A. MONTAG
                                                                                                                                 TYLER M. HELSEL
                                                                                                                                 NANCY A. DOMINSKI
                                                                                                                                 ALEXANDER E. FOUNDOS
                                                                                                                                 CHRISTOPHER P. JACKSON
                                                                                                                                 JAMES D. LEWIS
                Honorable Brett H. Ludwig                                                                                        TRAVIS J. GRESHAM
                                                                                                                                 KYLE W. BAILEY
                United States District Court - Eastern District of Wisconsin                                                     JOSEPH M. DOBBS
                517 East Wisconsin Avenue, Courtroom 201                                                                         WILLIAM K. HOTCHKISS
                                                                                                                                 CLINT B. MUCHE
                Milwaukee, WI 53202                                                                                              Assistant City Attorneys


                RE:      White v. City of Milwaukee, et al.
                         Case No.: 21-CV-146

                Dear Judge Ludwig:

                Per the Court’s order, the Defendants are filing this letter to update the Court as to the
                status of the settlement. The City of Milwaukee Common Council approved a
                settlement of the above referenced case on February 28, 2023. The Mayor of the City
                of Milwaukee has ten days from that date to veto any decision of the Common
                Council.

                Counsel for the Defendants does not foresee there will be a veto of the resolution and
                anticipates settlement funds will be made available in the next three to four weeks and
                therefore requests forty days to file a stipulation for a dismissal. Plaintiff’s counsel
                has reviewed and approves of the content of this letter.

                Very truly yours,

                s/L. Anthony Jackson

                L. ANTHONY JACKSON
                Assistant City Attorney

                LAJ/cdr
                1032-2021-147/284259




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